               Case
AO 91 (Rev.11/11)       2:23-cr-00113-RMP
                  Criminal Complaint         ECF No. 1       filed 09/29/23    PageID.1 Page 1 of 6


                                       United States District Court
                                                                                                    FILED IN THE
                                                     for the                                    U.S. DISTRICT COURT

                                      Eastern District of Washington                      EASTERN DISTRICT OF WASHINGTON



                                                                                           Sep 29, 2023
                                                         )
                                                                                                  SEAN F. MCAVOY, CLERK
    UNITED STATES OF AMERICA,                            )
                                                         )
                         Plaintiff,                      )      Case No. 2:23-mj-00338-JAG
                         v.                              )
                                                         )
                                                         )
    JOHNATHAN ALLEN,                                     )
                 Defendant.                              )



                                            CRIMINAL COMPLAINT

       I, Special Agent Jared Tomaso, the complainant in this case, state that the following is true to the best of
my knowledge and belief. On or about the date(s) October 27, 2022, in the county of Spokane in the Eastern
District of Washington, the defendant, JOHNATHAN ALLEN, violated: Title 21 United States Code, Section,
21 U.S.C. § 841(a)(1), (b)(1)(A)(viii), 18 U.S.C. § 2 -Distribution of 50 Grams of Actual (Pure)
Methamphetamine.


This complaint is based on these facts:
       ‫ ܈‬Continued on the attached sheet.




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                                                                          Complainant’s signature

                                                           Special Agent Jared Tomaso, ATF
                                                     ņņņņņņņņņņņņņņņņņņņņņņņņņņņņņņņņ
                                                                          Printed name and title
‫ ܆‬Sworn to before me and signed in my presence.
‫ ܈‬Sworn to telephonically and signed electronically.
                         in person

Date: September 29, 2023
      ______________
                                                     ņņņņņņņņņņņņņņņņņņņņņņņņņņņņņņņņ
                                                                           Judge’s signature

                                                     James A. Goeke, United States Magistrate Judge
City and state: Spokane, Washington                  ņņņņņņņņņņņņņņņņņņņņņņņņņņņņņņņņ
                                                                         Printed name and title
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Assigned AUSA: DMH

County of Investigation: Spokane

In re Affidavit in Support of Criminal Complaint as to Johnathan ALLEN (No.
2:23-mj-00338-JAG)

State of Washington       )
                    ss
County of Spokane         )


           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, Jared Tomaso, being first duly sworn, hereby depose and state as follows:

              INTRODUCTION AND AGENT BACKGROUND

      1.     I make this affidavit in support of a criminal complaint seeking the

arrest of Johnathan ALLEN for violating 21 U.S.C. § 841, distribution of

controlled substances.

      2.     I employed by the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF) as a Special Agent and have been so employed since March

2018. I am currently assigned to the Spokane Field Office. As an ATF Special

Agent, my duties include the investigation of violations of federal firearms and

controlled substance laws. Prior to my employment with ATF, I was employed for

two years as a Deportation Officer for the United States Immigration and Customs

Enforcement (ICE), and eight years as a United States Border Patrol agent. I am

fluent in the Spanish language (reading and writing). During my law enforcement

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career, I have made hundreds of arrests for both state and federal violations. I have

participated in hundreds of investigations involving felonious crimes. I have

received specialized training at the Federal Law Enforcement Training Center

(FLETC) in Artesia, NM, FLETC in Glynco, GA, and the ATF National Academy.

I have consulted with Senior Special Agents in the ATF, who have years of

experience in working firearms and controlled substance related investigations.

      3.     The facts set forth below are based upon (1) my own personal

observations; (2) reports and information provided to me by other law enforcement

agents or government agencies; (3) evidence collected through investigative

operations. Because this affidavit is being submitted solely for establishing

probable cause to support a criminal complaint, I have not included each and every

fact known to me concerning this investigation. I have only set forth facts

necessary to support the authorization of the requested arrest warrant and criminal

complaint.

                                INVESTIGATION

      4.     Starting in October of 2022, I have been involved in an investigation

involving Johnathan ALLEN, Date of Birth (DOB) 02/09/1991, and his alleged

involvement in the sale of methamphetamine, and firearm trafficking. I am aware

of a controlled purchase operations involving ALLEN, and others.

      5.     On October 27, 2022, multiple ATF agents, including Undercover



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Agents (UCA)’s, and other law enforcement officers participated in a controlled

purchase operation involving, among others, ALLEN. I have consulted with agents

who participated in the controlled purchase operation, and I have reviewed

portions of audio/video recordings captured during the controlled purchase. From

this, I am aware of the following events:

      6.     During the evening of October 27, 2022, in Spokane Valley, WA,

multiple UCAs met ALLEN’s codefendant Joshua FISHER (hereafter FISHER) at

or near pre-determined meet location (PDL) in Spokane Valley, WA. Prior to the

meet, through recorded and preserved communications between UCA and

FISHER, FISHER and ALLEN agreed to sell 6 ounces of methamphetamine to the

UCA. During the course of the controlled purchase, FISHER entered an ATF

Undercover Vehicle (UCV) and sold an ATF UCA approximately 6 ounces of

suspected methamphetamine. The controlled purchase was audio and video

recorded, and was witnessed by two other UCAs, who were present during the

undercover meet. The drugs were placed into evidence and sent to the Drug

Enforcement Administration (DEA) lab. Lab reports later confirmed that the

evidence contained more than 50 grams of pure or actual methamphetamine.

      7.     During the investigation, ATF conducted several other controlled

purchase operations from ALLEN’s Co-Defendant, FISHER which involved

methamphetamine and firearms over the several months. During these contacts,



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that were again recorded and surveilled by law enforcement, FISHER has

brandished a firearm on multiple occasions, witnessed by ATF UCAs.

      8.    Text message and Facebook communications later uncovered during

the investigation established and corroborated ALLEN’s participation in the

October 27, 2022 distribution. In these communications, FISHER communicated

with ALLEN about his need for a half-pound of methamphetamine. ALLEN, who

was in a Facebook group with Quinton A. BROWN (another co-defendant), posted

in the group that he needed “a half a pound of clear” and BROWN said he had

“seven zips” (ounces). ALLEN moved the conversation out of the larger Facebook

group and into a direct communication with BROWN, and they made

arrangements to meet in Spokane Valley, where FISHER and ALLEN would

purchase the methamphetamine from BROWN, and then sell it to the UCA.

Meanwhile, ALLEN was communicating about the deal with FISHER, who was

communicating with the UCA. They did the deal that night for what turned out to

be six ounces (about 160 grams) at a Panda Express/Wal-Mart parking lot in

Spokane Valley. During the deal, the secondary UCA, who was driving the

undercover car, identified a Black male wearing a red hat, who arrived with

FISHER and stayed in the car.

      9.    Additionally, an ATF UCA received a Facebook message

conversation between ALLEN and BROWN. In these messages, ALLEN and



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BROWN were attempting to identify who the UCA was. UCA recognized the

photograph in the Facebook account to be similar to the black male with FISHER

from the October 27, 2022 controlled purchased. FISHER positively identified

ALLEN. Further investigative analysis showed ALLEN and FISHER in telephonic

contact with each other.

      10.   Based on the foregoing, I submit that there is probable cause to

believe that on October 27, 2022, Joshua Fisher committed the offense of

Distribution of 50 grams or more of Actual Methamphetamine, in violation of 21

United States Code Section 841(a)(1), (b)(1)(A)(viii).

      I declare under penalty of perjury that the statements above are true and

correct to the best of my knowledge and belief.

                                             Respectfully submitted,


                                             ____________________________
                                             Jared Tomaso, Special Agent
                                             Bureau of Alcohol, Tobacco,
                                             Firearms, & Explosives


Sworn to in person and signed electronically on this 29th day of September, 2023.


                                      _____________________________
                                      James A. Goeke
                                      United States Magistrate Judge




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